       Case 1:25-cv-00716-BAH           Document 34        Filed 03/21/25      Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 PERKINS COIE LLP,

        Plaintiff,
 v.                                                      Civil Action No. 1:25-cv-00716-BAH

 U.S. DEPARTMENT OF JUSTICE, et al.,
        Defendants.


                        DEFENDANTS’ MOTION TO DISQUALIFY
                              JUDGE BERYL HOWELL

       Fair proceedings free from any suggestion of impartiality are essential to the integrity of

our country’s judiciary and the need to curtail ongoing improper encroachments of President

Trump’s Executive Power playing out across the country. In this case, reasonable observers may

well view this Court as insufficiently impartial to adjudicate the meritless challenges to President

Trump’s efforts to implement the agenda that the American people elected him to carry out. In

fact, this Court has repeatedly demonstrated partiality against and animus towards the President.

Examples include this Court enabling the improper efforts of disgraced former prosecutor Jack

Smith despite a readily apparent lack of venue in this District; wrongly suggesting in public that

President Trump is an authoritarian; and incorrectly finding that President Trump—the most well-

known man on Earth—presents a flight risk where even the prior Administration’s Department of

Justice had to retract such a suggestion. This Court’s comments at the hearing on the meritless

motion for a temporary restraining order (“TRO”) in this case, including gratuitous and biased

references by this Court regarding the investigation of Special Counsel Robert Mueller (“Mueller

Report”), confirm that reasonable observers may view this Court as incapable of fairly adjudicating

these claims against the Commander-In-Chief.
                                                 1
       Case 1:25-cv-00716-BAH           Document 34         Filed 03/21/25     Page 2 of 8




       Accordingly, to ensure that these proceedings are free from any suggestion of impartiality,

the Defendants move to disqualify this Court under 28 U.S.C. § 455(a). This case involves serious

concerns about election integrity, national security, and the past actions of the law firm Perkins

Coie LLP. Given the statements made by the Court at the initial hearing in this matter and its out-

of-court statements, the Court’s impartiality in this case might reasonably be questioned. See 28

U.S.C. § 455(a).    Accordingly, Defendants respectfully submit that this matter should be

transferred to another district court judge who was neither involved with Mueller Report nor the

investigation of Special Counsel John Durham (“Durham Investigation”) and who has not

demonstrated a pattern of hostility towards Defendants.

                                      LEGAL STANDARD

       Recusal is mandatory where a judge’s “impartiality might reasonably be questioned.” 28

U.S.C. § 455(a) (explaining that a federal judge “shall disqualify himself in any proceeding in

which his impartiality might reasonably be questioned”). A judge also “shall” recuse where she

“has a personal bias or prejudice concerning a party.” 28 U.S.C. § 455(b)(1). “[T]he question is

whether a reasonable and informed observer would question the judge’s impartiality.” Stone v.

U.S. Embassy Tokyo, 2020 WL 5653699, at *1 (D.D.C. 2020) (quotation omitted); see also SEC v.

Loving Spirit Found., 392 F.3d 486, 493 (D.C. Cir. 2004).

       The touchstone for recusal under Section 455(a) is “not the reality of bias or prejudice but

its appearance.” Liteky v. United States, 510 U.S. 540, 548 (1994). “The very purpose of § 455(a)

is to promote confidence in the judiciary by avoiding even the appearance of impropriety whenever

possible.” United States v. Patti, 337 F.3d 1317, 1321 (11th Cir. 2003) (quoting Liljeberg v. Health

Servs. Acquisition Corp., 486 U.S. 847, 865 (1988)). Thus, “any doubts must be resolved in favor

of recusal.” Id.; see also Parker v. Connors Steel Co., 855 F.2d 1510, 1524 (11th Cir. 1988) (“It

has been stated on numerous occasions that when a judge harbors any doubts concerning whether

                                                 2
         Case 1:25-cv-00716-BAH          Document 34       Filed 03/21/25      Page 3 of 8




his disqualification is required he should resolve the doubt in favor of disqualification.”). The

Supreme Court has explained that remarks by a court may constitute a basis for recusal if “they

display a deep-seated favoritism or antagonism that would make fair judgment impossible.” Liteky

510 U.S. at 555.

                                          DISCUSSION

         Plaintiff’s lawsuit challenges the President’s Executive Order issued on March 6, 2025,

entitled Addressing Risks from Perkins Coie LLP (the “EO”). The EO explains that Perkins Coie

LLP has engaged in a “pattern” of “dishonest and dangerous activity.” Notably, members of

Plaintiff’s firm were involved in matters subject to the Durham Investigation, culminating with the

indictment of one member of Plaintiff’s firm. This Court is no stranger to this issue given its role

in the Mueller investigation.

     a. This Court’s Systematic Hostility Toward President Trump

         This Court has not kept its disdain for President Trump secret. It has voiced its thoughts

loudly—both inside and outside the courtroom. In a November 2023 speech that this Court

delivered at a Women’s White Collar Defense Association event, it lamented that America is at a

“crossroads” and, in an apparent reference to President Trump, indicated that one path would lead

to      authoritarianism.       See      2023    WWCDA         Awards       Gala    Full     Video,

https://www.youtube.com/watch?v=sNDnJWh1gzE (last accessed March 21, 2025).                   Judge

Howell’s remarks did not live in a vacuum. They prompted a judicial misconduct complaint from

a member of Congress and serious media scrutiny. See Complaint of Judicial Misconduct Against

Judge            Beryl          Howell           filed         by           Elise          Stefanik,

https://s3.documentcloud.org/documents/24224161/stefanik20judicial20complaint20howell20de

c2015.pdf (Dec. 15, 2023); see, e.g., Gerstein, Judge key to Jan. 6 cases warns US faces



                                                 3
        Case 1:25-cv-00716-BAH           Document 34       Filed 03/21/25     Page 4 of 8




‘authoritarian’   threat,    https://www.politico.com/news/2023/11/28/jan-6-authoritarian-threat-

democracy-00129013 (Nov. 28, 2023).

       This Court’s hostility toward President Trump is also on full display through her disdain

for his supporters. For example, in response to a basic dismissal motion under Federal Criminal

Rule of Procedure 48, this Court took the opportunity to grandstand about the 2020 election and

President Trump’s supporters. Directly rejecting the president’s determination that dismissal of

pending indictments “against individuals for their conduct related to the events at or near the

United States Capitol on January 6, 2021” would “end[] a grave national injustice that has been

perpetrated upon the American people over the last four years and begin[] a process of national

reconciliation,” Proclamation 10887, Granting Pardons and Commutation of Sentences for

Certain Offenses Relating to the Events at or Near the United States Capitol on January 6, 2021,

90 Fed. Reg. 8331 (Jan. 20, 2025), the Court curtly stated that no “national injustice” occurred

here, United States v. Jovanovic, Case No. 25-cr-15, 2025 WL 266551, at *2 (D.D.C. Jan. 2025).

The Court then engaged in wholly inappropriate name-calling, repeatedly calling President

Trump’s supporters “sore losers” and stating that the President’s pronouncement relayed a

“revisionist myth.” Id.

       This Court’s pattern of hostility toward President Trump is not limited to his supporters. It

also utilized the judicial power against President Trump himself. During the height of Jack Smith’s

weaponized lawfare against President Trump, this Court found “reason to believe that the former

President would ‘flee from prosecution’”—despite President Trump being one of the most

recognizable figures in the world. See In re Sealed Case, 77 F.4th 815, 822 n.2 (D.C. Cir 2023)

(noting that even the government later acknowledged that “it had ‘errantly included flight from

prosecution as a predicate’ in its application”).



                                                    4
       Case 1:25-cv-00716-BAH          Document 34       Filed 03/21/25     Page 5 of 8




       Later, in the waning moments of its seven-year term as Chief Judge, this Court ruled that

private documents belonging to President Trump’s personal attorney must be given to Smith.

Invoking the rarely used “crime-fraud” exception, this Court pierced attorney-client privilege,

ordering President Trump’s attorney to testify before a D.C. grand jury investigating the alleged

retention of government documents in South Florida. See In re: Sealed Case, Case No. 1:23-gj-

00010 (D.D.C); Feuer, Trump Lawyer in Mar-a-Lago Case Must Hand Over Records, Appeals

Court Says, NEW YORK TIMES (Mar. 22, 2023). Notably, this Court issued its ruling when venue

for the grand jury proceedings in the case was squarely in the Southern District of Florida—not

the District of Columbia. Indeed, the district court judge in the Southern District of Florida

appeared troubled by this Court’s procedure and seemed inclined to engage in an extended

evidentiary hearing to address it before ultimately dismissing the unconstitutional case against

President Trump on other grounds. See, e.g., ECF Nos. 566, 605, United States v. Trump, No. 23-

cr-80101 (S.D. Fla. 2023).

       Additionally, in 2023, this Court held Twitter in contempt of court for failing to comply

with Jack Smith’s demand for President Trump’s Twitter direct messages. This Court could not

resist from editorializing, asking whether Musk “wants to cozy up with the former president” and

whether Twitter’s efforts were “to make Donald Trump feel like he is a particularly welcomed new

renewed user of Twitter.” In the Matter of the Search of: Information That is Stored at Premises

Controlled by Twitter Inc., Case. No. 1:23-sc-00031 (D.D.C.), Transcript of Hearing Before the

Honorable Beryl Howell on February 7, 2023, at 1:32 p.m. at 36:5–6, 60:18–20.




                                               5
       Case 1:25-cv-00716-BAH           Document 34        Filed 03/21/25      Page 6 of 8




   b. This Court’s Conduct in this Case

       Simultaneously with filing its complaint in this case, Plaintiff filed a motion for a TRO.

See ECF No. 2. Within 24 hours of the complaint being filed, this Court conducted a a hearing on

the TRO and ruled from the bench, granting the requested relief. See ECF No. 21.

       During the course of the hearing, a number of exchanges took place between the Court and

Defendants’ counsel regarding the activities of Perkins Coie attorneys and the 2016 election—

specifically their involvement in the procurement and distribution of the report by Fusion GPS.

ECF No. 22, Hearing Tr. at 31–35, 49–50. This report has now been fully discredited, and the role

of Perkins Coie attorneys in the distribution of this report was a centerpiece of the Durham

Investigation. Yet this Court stated: “I know the President has just—you know, based on reading

these papers, he was upset about that in 2016; he was so upset about this still he filed a lawsuit

against Perkins Coie and others in the Southern District of Florida that was dismissed in rapid

order. He keeps bringing it up. It’s like he doesn’t want any of us to forget Fusion GPS. He doesn’t

want any of us to forget that—any of this. He really has a bee in his bonnet about it.” ECF No.

22, Hearing Tr. at 49:22–50:5 (emphasis added).

       As seen in the above exchange, issues of the Durham Investigation, the Fusion GPS report,

and the Mueller Report are central to the EO. The Court’s condescending remark that President

Trump had “a bee in his bonnet” about Fusion GPS demonstrate a concerning and dismissive

approach to the entire Durham Investigation—an Investigation that touched on the Court’s role in

the Mueller Report and one in which members of the Plaintiff’s firm played a primary and essential

role. The entire Fusion GPS fiasco is a lamentable part of this nation’s history. As demonstrated

through comments in this proceeding, other judicial proceedings, and in the public, observers




                                                 6
       Case 1:25-cv-00716-BAH          Document 34        Filed 03/21/25      Page 7 of 8




might reasonably have concerns about the Court’s impartiality in this matter. Recusal is warranted

to ensure these proceedings fair and free from concerns about impartiality.

                                        CONCLUSION

       Defendants deserve a court proceeding free from concerns about impartiality. In order to

remove the possibility of any impartiality to these proceedings, Defendants respectfully request

that this Court recuse itself and return this matter to assignment before a judge free from any

appearance of hostility toward this Administration and is otherwise unconnected with any matter

related to the Mueller Report or Durham Investigation.

Dated: March 21, 2025                               Respectfully Submitted,
       Washington, DC

                                                    CHAD MIZELLE
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                                                    /s/ Richard Lawson
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                                                7
       Case 1:25-cv-00716-BAH           Document 34        Filed 03/21/25   Page 8 of 8




                              CERTIFICATE OF CONFERRAL

       Consistent with Local Rule 7(m), Defendants apprised opposing counsel of the

anticipated motion; Plaintiffs oppose the relief sought.


                                                      /s/ Richard Lawson
                                                      RICHARD LAWSON
                                                      Deputy Associate Attorney General




                                                 8
